     Case 2:16-cv-01326-AKK-JHE Document 24 Filed 11/06/17 Page 1 of 2             FILED
                                                                          2017 Nov-06 PM 02:51
                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT
                         SOUTHERN DIVISION

QUENTIN TRUSS, AIS # 181630

        Plaintiff,

v.                                        2:16-cv-01326-AKK-JHE

LATASHA TERRELL, et al.

        Defendants.

                          NOTICE TO THE COURT

        Come now the Defendants Latasha Terrell, Gregoree Haywood,

Teshaura Turnbull, Ardalia Marks Jones, by and through counsel, to advise

this Honorable Court that this case was settled on Friday, 3 November 2017,

by the execution of a settlement agreement by the Plaintiff with the

Defendants. At such time as the settlement has been processed for payment,

the parties will file a joint stipulation of dismissal.

                                   Respectfully submitted,

                                   STEVE MARSHALL
                                   ATTORNEY GENERAL

                                   /s/ Jack Wallace, Jr.
                                   Jack Wallace, Jr.
                                   ASSISTANT ATTORNEY GENERAL




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ADDRESS OF COUNSEL:
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501 Washington Avenue
Montgomery, Alabama 36130-0152
334-242-7300
334-242-2433 (Fax)
jwallace@ago.state.al.us



                     CERTIFICATE OF SERVICE

      I hereby certify that on November 6, 2017, I electronically filed the

foregoing with the Clerk of the Court, using the CM/ECF system, and that I

have further served a copy on the Plaintiff, by placing same in the United

States Mail, postage prepaid, and properly addressed as follows:

      Quentin Truss, AIS 181630
      Donaldson Correctional Facility
      100 Warrior Lane
      Bessemer, AL 35023

                                /s/ Jack Wallace, Jr.
                                Jack Wallace, Jr.
                                ASSISTANT ATTORNEY GENERAL




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